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UNITED STATES BANKRUPTCY COURT, S¢ OUTIIERN DISTRICT OF et Grips

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CHAPTER 13 PLAN (Individual Adjustment of Debts)

 

 

[] ee — Original Plan
MP Amended Plan (indicate Ist, 2nd, ete. Amended, if applicable)
[w) 4 Modified Plan (Undicate Ist. 2nd, etc. Modified, if applicable)
DEBTOR: Zoilita J Garcia JOINTDEBTOR: = CASE NO: 15-2592
SS#: XxxX-Xx- 3106 SS#: XNX-NN- _
: NOTICES Haare
To Debtors: Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans. amended plans

and modified plans shall be wed upon all creditors and a certificate of service filed with the Clerk pursuit ie
Local Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days oi
filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.

To Creditors: Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim nia
be reduced, modified or eliminated.

To All Parties; The plan contains no nonstandard provisions other than those set out in paragraph VIL. Debtor(s) must check on
box on each line listed below in this section to state whether the plan includes any of the following:

 

 

The valuation of a secured claim, set out in Section HI, which may result ina i poy
| ) Included [| Not tuehuded
partial payment or no payment at all to the secured creditor !
Avoidance of a judicial lien or nonpossessory, nonpurehi ise- money security interest, set fe Ml.
Ul [ | Included jij Not tichided
out in Section
Nonstandard d provisions, ‘set out in Section VIL [ ] Included [| Not includes

H. PLAN PAYMENTS, L. ENGTH OF PL AN, AND. DE BT OR(S)! A TTORNE y's FEF

A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below. Including trustec's
fees of 10%, beginning 30 days trom the filing/eonversion date. [n the event the trustee does not retain the full 10%. any unusce
amount will be paid to unsecured nonpriority creditors pro-rata under the plan:

1. $649.59 for months 1 to 3h
2, $1239.92 for months 32 to 36—
3. $1,173.26 ss for months 37. to 60:
B. DEBTOR(S)' ATTORNE ¥'s FE E Ks [J NONE [7] PRO BONO
Total Fees: «$3500.00 Total Paid: ——=—=—=—«$2000.00 Balance Due: $1500.00
Payable $38.71 = ‘month (Months | to 31)
Payable $59.99 month (Months 32. to 360)

Allowed fees under LR 2016-1(B)(2) are itemized below:
53,500 Chapter 13 Case,

Applications for compensation must be filed for all fees over rand above the c OUFt'S Guidelines for C ompensation,—
III. TREATMENT OF SECURED CL AIMS
A. SECURED CLAIMS: _ NONE

_[Retain Li lens pursuant to 11 U.S.C. §1325 (a)(5)| Mortgage(s)/Lien on Real or Personal Property:

 

I Creditor: Citi Bank, N.A

Address: PO Box 85101 Arrearage’ Payolfou Petition Date 35.04.48
Austin, TX 78708 : a mv be
rs Arrears AS86340 Amonth (Months | w 3h}
Last 4 Digits of Arrears 5688.53 ‘month (Months 32 to 6003

Account No.: | 824

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Other: nee ne me ae ee —— - . ~ - + . ee a aoe see sy = lk iceman sapien gti

|g] Real Property Check one below for Real Property:

|g |Principal Residence (mw |Eescrow is included in the regular payments

[. Other Real Property |. |The debtor(s) will pay [ Jtaxes  [- Jinsurance directly

Address of Collateral:
675 NE 135 Street
North Miami, FL 33161

|] Personal Property/Vehicle

DeseH iption enCollatena |

2: Creditor Citi Bank, NA

Address: PO BOX 85101 Arrearage’ Payor on Petition Date $3,412.00

musty TA 78708 Arrears Payment (Cure) —  SA77600 manth (Months | tu 3h
Last 4 Digits of Arrears Payment (Cure) 307.62 month (Months 32 we 60
AccountNo: (1824
Other: - a

|@] Real Property Check one below for Real Property:
[w [Principal Residence [w]Iscrow is included in the regular payments
[| jOther Real Property [| |The debtor(s) will pay [ Jtaxes | Jinsurance direet!y
Address of Collateral:
675 NE 135 Street
North Miami, FL 33161

|] Personal Property/Vehicle

 

 

Description of Collateral:
3. Creditor: Citi Bank, NA ee ; — /
Address; PO Box 85101 Arrearage Pavoll on Petition Date $7,899.15
stin. TX 7870 : enter
Austin 7R108 Arrears Payment (Cure) — SU798- month ¢{Nlonthe | too 3hoo
Last 4 Digits of Arrears Payment (Cure) $253.16 month (Months 320 ta 6u
AccountNo: 182-4
Other:

 

_] Real Propert Check one below for Real Property:
asl perty pert
[@ Principal Residence [w]Escrow is included in the regular payments
[ Other Real Property | [The debtor(s) will pay [taxes | Jinsurance directly
Address of Collateral:
675 NE 135 Street
North Miami, FL 33161

|] Personal Property/Vchicle

 

Deseriphion of Collateral:

B. VALUATION OF COL L. (ATER AL: a NONE.

C. LIEN AVOIDANCE [ij] NONE

D. SURRENDER OF COLLATERAL: Secured claims filed by any creditor granted stay relief in this section shall not receive «
distribution fom the Chapter 13 Trustee.
fa] NONE

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Graren Cause number: 13s 2YAY?

E. DIRECT PAYMENTS: Sccured claims filed by any creditor granted stay relief in this scetion ntl Hot receive u distribution:
fom the Chapter 13 Trustee.
[a] NONE
lV. TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in [1 U.S.C. $507 and 11 ULS.C. 8 1322 (aC) |

ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEF: [i] NONE

INTERNAL REVENUE SERVICE: [it] NONE
DOMESTIC SUPPORT OBLIGATION(S): [i] NONE

oe

y

OTHER: [B] NONE
Vv. TREATMENT OF UNSECURED NONPRIORITY CREDITORS
A. Pay $31.64 ‘month(Months =| to 31)

Pay $46.61 ‘month (Months 32 to 60 )

Pro rata dividend will be calculated by the Trustee upon review of filed claims afier bar date,
B. [a] If checked, the Debtor(s) will amend:modify to pay 100% to all allowed unsecured nonpriority claims.

C. SEPARATELY CLASSIFIED: — [Bg] NONE
*Debtor(s) certify the separate classification(s) of the claim(s) listed above will uot prejudice other unsecured nonpriority
creditors pursuant to 11 U.S.C. 8 1322.
VI. EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Sccured claims filed by any creditor lessor granted stay relic! in ue
section shall not receive a distribution from the Chapter 13 Trustee.
{g] NONE
Vil. INCOME TAX RETURNS AND REFUNDS: [(] NONE

(i@] Debtor(s) will not provide tax returns unless requested by any interested party pursuant to 11 U.S.C. § 521.

VIL. NON-STANDARD PLAN PROVISIONS [i] NONE

PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION,

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

/s/Zoil ita J Garcia Debtor 8/13,2018 Joint Debtor

Date Date

“Bariaswarew

/s' Ricardo Corona, Esq. 8/13/2018
Attori ney with permission to § sign on Date
Debtor(s)’ behalf

By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
contains no nonstandard provisions other than those set out in paragraph VIIL

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